                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

            Plaintiff,

v.                                          Case No. 18 CR 154

VAN L. MAYES,

            Defendant.


      MOTION TO UNSEAL, INSPECT, AND COPY GRAND JURY MATERIALS


                            PROCEDURAL HISTORY

      The defendant was charged in a five count indictment with:

count one: Attempted Arson, in violation of 18 U.S.C. §844(I) and

2; count two: Conspiracy to Commit Arson, in violation of 18 U.S.C.

§844(m) and 2; count three: Possession of a Destructive Device in

Relation   to   a   Crime   of   Violence,    in   violation   of   18   U.S.C.

§924(c)(1)(B)(ii); count four: Possession of a Firearm/Destructive

Devices    by   a   Prohibited    Person,    in    violation   of   18   U.S.C.

§922(g)(1) and 924(a)(2); and count five: Making a Destructive

Device, in violation of 26 U.S.C. §5822, 5861(f), and 18 U.S.C.

§2.

      On October 8, 2020, the grand jury returned a superseding

indictment in this matter. The superseding indictment charged the

following: count one: Conspiracy to Commit Arson, in violation of
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18 U.S.C. §844(m) and 2; count two: Using a Cell Phone to Encourage

Others    to     Riot    and   Commit   Arson,   in   violation   of    18   U.S.C.

§2101(a)(2) and (3) and 2; count three: Possession of a Destructive

Device in Relation to a Crime of Violence, in violation of 18

U.S.C.    §924(c)(1)(B)(ii);         count    four:   Taught   Others    the   Use,

Application, and Making of Molotov Cocktails in Furtherance of

Civil Disorder, in violation of 18 U.S.C. §231(a)(1) and 2; count

five: Witness Intimidation, in violation of 18 U.S.C. §1512(b)(3)

and (k), and 2; count six: Possession of a Firearm/Destructive

Devices     by    a     Prohibited   Person,     in   violation   of    18   U.S.C.

§922(g)(1) and 924(a)(2); and count seven: Making a Destructive

Device, in violation of 26 U.S.C. §5822, 5861(f), and 18 U.S.C.

§2.

      On January 5th, 2024, the government filed a motion to dismiss

counts one, two, and three of the superseding indictment. Two days

later, on January 7th, 2024, the court dismissed the previously

referenced counts. The defendant is now charged with the remaining

four charges as outlined in the paragraph above.

                                  CASE BACKGROUND

      In the afternoon hours of August 13th, 2016, a young black

man, Sylville Smith, was shot by police in a neighborhood which

abuts Sherman Park in the City of Milwaukee. The occurrence drew

immediate community outrage. Questions arose regarding the way in
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which the shooting occurred and whether it was justified. Shortly

after the young man’s death, on August 13 th, elements both within

the community and outside of Milwaukee began to assemble and voice

their opposition to what was believed to be an unjustified shooting

of a young black man. As the evening progressed, the crowd became

more agitated, louder, and more aggressive. Its response soon

turned     from   verbal     expressions       to   physical    destruction    of

property. A BP station, situated on the corner which abuts Sherman

Park, was set on fire and completely destroyed. Other incidents of

arson, destruction of property, and physical assaults occurred.

Commercial properties were entered, looted, and rendered unusable.

They include a beauty supply store, cell phone outlet, bank, and

grocery store.

     During the arson of the BP station two noteworthy events

occurred. The employees of the station positioned themselves in

the enclosed glass register area to avoid the angry crowd and the

ensuing violence. Witnesses have stated that Mr. Mayes assisted in

saving the employees by removing them from the burning building.

Additionally, a camera crew from a local newspaper was chased

through the streets by an angry group of individuals. Mr. Mayes,

again, is credited with saving these individuals from assault and

removing them to safety.

     Witnesses      who    viewed   the   BP   arson   have    stated   that   the
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conflagration was initiated by Molotov cocktails. Some observers

have indicated that Charles Edwards was responsible for bringing

the incendiary devices to the station and distributing them to

those who used them to ignite the fire. The prosecution does not

allege that Mr. Mayes participated in acts of arson which occurred

on August 13th, 2016. Other acts of unrest continued to occur on

August 14th, 2016. The National Guard intervened at the request of

the Governor. There was vast media coverage throughout much of the

country.

        The   original   indictment    charged   Mr.     Mayes   with     having

conspired with Charles Edwards and others to attack the Seventh

District Police Station in retaliation for the perceived unjust

shooting. According to the plan, rocks would be thrown at police

officers who were standing guard over the station. This would

create a diversion so as to allow the building itself to be

attacked with Molotov Cocktails.

        The government further theorizes that the Molotov Cocktails

were to have been assembled during the evening hours of August

15th,    2016,   at   Charles   Edwards’s   apartment.    According     to   the

prosecution, the defendant brought empty glass juice bottles from

his home or from events at Sherman Park. There, he assisted in the

construction of the cocktails as well as in teaching juveniles

from his park program how to do the same. Witnesses claimed that
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the intended assault on the precinct never took place because one

or   more     individuals      believed    the    police   presence      to    be   too

significant. They maintain that the attack was called off because

of these concerns.

       Much    of    the   case   against      the    defendant    is    based      upon

statements of unindicted co-conspirators whose identities were

deemed privileged by the government. Several of these witnesses

were   minors       at   the   time   of   the    events   and    had    significant

involvement         in   the   criminal    justice     system.    Some    of     these

individuals      have      been   convicted      of   felony   offences       and   are

presently serving periods of prison incarceration. Edwards was a

convicted felon charged in the Eastern District of Wisconsin with

felony drug and firearm matters.



                ARGUMENT – STRIKING LANGUAGE FROM COUNT 5 IS A
                     FATAL AMENDMENT TO THE INDICTMENT AND
                 NECESSITATES RE-SUBMISSION TO THE GRAND JURY


       Although Mr. Mayes is not alleged to have been involved in

the arson or other acts of August 13th and 14th, the charges stem

directly from those occurrences. In the original indictment, the

defendant was charged in count two with conspiracy to commit arson,

as well as other counts emanating from the events in August of

2016. After the dismissal of counts one, two, and three, the


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remaining counts of the superseding indictment charge Mr. Mayes

with the following: count four, instructing juveniles how to make

the   bombs;    count   five,    conspiracy        to    intimidate,    corruptly

persuade witnesses, and create a false story from the events in

counts one, two, and four; count six, possession of a destructive

device having been previously convicted of a felony; and count

seven, construction of Molotov cocktails.

      Count five charges the defendant as follows:

      “Between approximately August 20 th, 2016 and May 1st, 2019, in
      the State and Eastern District of Wisconsin, Van L. Mayes and
      others known and unknown to the grand jury knowingly and
      intentionally combined and conspired to intimidate, threaten,
      corruptly persuade witnesses to the activities described in
      Counts One, Two, and Four of this Superseding Indictment by
      instructing witnesses to create a false and common story to
      be communicated to law enforcement and by threatening to
      expose witnesses who were cooperating with law enforcement,
      with the intent to hinder, delay, and prevent communication
      to the United States Bureau of Alcohol, Tobacco, and Firearms
      of information relating to the commission of a Federal
      Offense, including those described in Counts One, Two, and
      Four.”

      The   dismissal    of     the   three    counts      raises     significant

questions of whether the act constitutes a material variance or an

allowable      amendment.     Federal       Rule    of     Criminal     Procedure

6(e)(3)(E)(I) permits the court to disclose grand jury proceedings

“preliminarily to or in conjunction with a judicial proceeding.”

The United States Supreme Court has determined that disclosure of

grand jury transcripts is appropriate where the defendant can show


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a “particularized need” for the materials that outweighs the policy

underlying grand jury secrecy. See, Douglas Oil Company v. Petrol

Stops Northwest, 441 U.S. 211, 223-24 (1979).

     The   Fifth   Amendment   of   the   United   States    Constitution

guarantees the right of the accused to be tried only on charges in

an indictment returned by the grand jury, Stirone v. United States,

361 U.S. 212, 217 (1960), also see United States v. Muresanu, 951

F.3d 833,839 (7th Cir. 2020). A judicial amendment without the

approval of the grand jury is per se reversible error, United

States v. Galiffa 734 F.2d 306, 311 (7th Cir. 1984), see also

Muresanu, 951 F.3d at 839 and Stirone, 361 U.S. at 217. The

Meresanu court noted that “deprivation of such a basic right is

far too serious to be treated as nothing more than a variance and

then dismissed as harm-less error”, Merasanu, 951 F.3d at 851. As

such, the defendant enjoys a fundamental right to be tried based

on the actual charges brought during the grand jury proceedings,

Stirone, 361 U.S. at 217.

     Any material amendment to the indictment has to be made by

re-submission to the grand jury, United States v. McNeese, 901

F.2d 585, 601 (7th Cir. 1990), overruled on other grounds United

States v. Westmoreland, 240 F.3d 618 (7th Cir. 2001). An indictment

may be amended without re-submission only if the alteration makes

no material change and there is no prejudice to the defendant,
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United States v. Lorefice, 192 F.3d 647, 653 (7th Cir. 1999). A

material element of a crime is one “whose specification with

precise accuracy is necessary to establish the illegality of the

behavior in the court’s jurisdiction”, United States v. Alhalabi,

443 F.3d 605, 613 (7th Cir. 2006).

     In United States v. Mankarious, 151 F.3d 694 (7th Cir. 1998),

the court adopted the five-part test used by the Tenth Circuit to

determine whether a deletion from an indictment constitutes a

material change, United States v. Cook, 745 F.2d 1311, 1316-17

(10th Cir. 1984). One factor of the five-part Cook test provides

that the deletion “may not strike any portion of the charging

paragraph.” In the instant matter, count five incorporates by

reference the acts set forth in counts one, two, and four. If

counts one and two are deleted from the wording of count five, the

allegations rely only upon the conduct set forth in count four.

The issue then arises whether the deletion of the three counts

constitutes a material variance which would require re-submission

to the grand jury. The defendant maintains that the circumstances

as have been described herein constitute a material variance and

not a mere narrowing of the indictment.

     It is recognized that, under certain circumstances, narrowing

an indictment may be permissible without the necessity of going

back to the grand jury. However, narrowing issues often arise when
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there are amendments to a conspiracy as opposed to a substantive

count. See, United States v. Graffia, 120 F.3d 706, 711 (7th Cir.

1973); United States v. Duff, 76 F.3d 122, 126 (7th Cir. 1996).

In the instant case, the defendant was originally indicted with

the conspiracy in count two, and all other charges emanating from

the conspiracy. Count five is also a conspiracy charge. It alleges

that the defendant conspired with others to intimidate witnesses

and to create a false story in relationship to the conspiracy in

count two and substantive counts one and four.

     The   defendant   is   therefore   charged   in   count   five    with

conspiring to do an illegal act with respect to the conspiracy

charged in count two. Had the evidence of the conspiracy in count

two not been presented to the grand jury, would a “true bill” have

been handed down with respect to the conspiracy charge in count

five? The conspiracy in count two has now been dismissed. What

facts were relied upon for the grand jury in its determination

with respect to the other counts?

     It is unknown to anyone but the prosecutor and the grand

jurors themselves what evidence was submitted and considered in

reaching their decision to indict the defendant on any or all of

the counts. No one knows, other than the prosecution and the

jurors, how the interrelationship of counts one, two, and four

impacted on the jury’s deliberation to indict the defendant on
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count five. Questions immediately arise regarding the impact to

the jurors’ ultimate vote if evidence in support of the conspiracy

in   count   two   had   not   been        presented.   Were   there    overt

conspiratorial acts committed by unindicted co-conspirators for

count two which gave rise to count five? Was the evidence in

support of counts one and two essential to the jury’s decision to

indict on count five? Was the evidence submitted in support of

count four, standing alone, sufficient to support the indictment

in count five?

     Count five has been drafted so that notice to the defendant

is reliant upon the acts set forth in counts one, two, and four.

The string of questions set forth above can only be addressed and

answered by a review of the materials submitted to the grand jury

which issued the superseding indictment in this case.

     Courts often struggle with determining whether modifications

to the indictment constitute a fatal variance, or what the Stirone

court referred to as a (constructive amendment). In United States

v. Jingles, 702 F.3d 494 (9th Cir. 2012), the court noted that:

     “(‘The line between a constructive amendment and a variance
     is at times difficult to draw’). A review of the history of
     the amendment/variance dichotomy reveals the reason for our
     perplexity. The problem is that, according to our definitions
     of the two terms, ‘variance’ and ‘amendment’ can, and often
     do, mean the same thing.” Id. at 500.

     The Jingles court went on to explain the difference between


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an amendment and variance:

     “An amendment of the indictment occurs when the charging terms
     of the indictment are altered, either literally or in effect,
     by the prosecutor or a court after the grand jury has last
     passed upon them. A variance occurs when the charging terms
     of the indictment are left unaltered, but the evidence offered
     at trial proves facts materially different from those alleged
     in the indictment.     Id. at 586 (quoting United States v.
     Cusmano, 659 F.2d 714, 718 (6th Cir. 1981)). We borrowed this
     language from the Sixth Circuit, which, in turn, took it from
     a decision by the D.C. Circuit, Gaither v. United States, 413
     F.2d 1061, 1071 (D.C. Cir. 1969).

     In Gaither, the court reviewed the historical background of
     the two doctrines. According to Gaither, these doctrines had
     their genesis in the different purposes served by the Fifth
     Amendment's indictment requirement. Requiring indictment by
     grand jury protects individuals by: (1) requiring the
     prosecutor to establish probable cause for prosecution to the
     satisfaction of a group of unbiased men and women, (2)
     enabling the accused to prepare a defense by giving notice of
     the precise conduct alleged, and (3) protecting against
     another prosecution for the same offense. Id. at 1066. As
     explained in Gaither, an amendment is thought to be bad
     because it deprives the defendant of his right to be tried
     upon the charge in the indictment as found by the grand jury
     and hence subjected to its popular scrutiny. A variance is
     thought to be bad because it may deprive the defendant of
     notice of the details of the charge against him and protection
     against reprosecution. Id. at 1071–72 (internal footnotes
     omitted).

     The court explained that, prior to Stirone, the leading
     Supreme Court case of Ex parte Bain required automatic
     reversal if the indictment was amended. Gaither, 413 F.2d at
     1072. Prosecutors avoided the automatic reversal rule by
     simply proving the facts which the amended indictment would
     have charged without changing the indictment's terms. Id.
     ‘Thus instead of an amendment, there is a variance. And the
     accepted rule is that a variance does not call for dismissal
     of the indictment except upon a showing of prejudice.’ Id.

     However, the Stirone case limited the use of this device. In
     that case, there was no actual amendment of the indictment—
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rather there was a variation in proof from the grand jury's
charge. However, the Supreme Court found the variance
substantial enough to amount to a constructive amendment of
the indictment, and relied on Bain in ordering the indictment
dismissed. The reason given was not that the variance deprived
the defendant of notice or protection against double
jeopardy, but rather that it infringed his ‘right to have the
grand jury make the charge on its own judgment.’ Id. (italics
added) (quoting Stirone, 361 U.S. at 218–19, 80 S.Ct. 270).

Thus, Gaither's description of the difference between an
‘amendment’ and a ‘variance’ is somewhat misleading. As
Gaither itself recognized, a ‘constructive amendment’ is
simply one kind of ‘variance’—that is, a variation in proof
from the grand jury's charge. If the variation in proof
results in an infringement of the right to have the grand
jury make the charge on its own indictment, we call it a
constructive amendment. Regardless of the name ascribed to
it, courts faced with a variation in proof from the grand
jury's charge must consider every way in which that variation
might burden a defendant's substantial rights. Indeed, when
we found a ‘fatal variance’ in Tsinhnahijinnie, we referred
to all three rationales for the indictment requirement: ‘The
problem [with a variance in proof] would be that the defendant
was not indicted for the crime proved, had no fair notice,
and would lack double jeopardy protection against an
indictment for the ... crime if he won acquittal.’ 112 F.3d
at 992.

As mentioned above, the historical difference between a
constructive amendment and a variance has been that the former
requires automatic reversal while the latter does not. See
Adamson, 291 F.3d at 615 (‘[The line between a constructive
amendment and a variance] is significant because, whereas a
constructive amendment always requires reversal, a variance
requires reversal only if it prejudices a defendant's
substantial rights’ (internal quotation marks omitted)).
Under Bain and Stirone, a constructive amendment requires
automatic reversal. See Gaither, 413 F.2d at 1072. A variance,
on the other hand, is harmless if the indictment gave the
defendant adequate notice of the charges and there was no
risk of double jeopardy if the defendant had been acquitted.
See id.; see also Berger v. United States, 295 U.S. 78, 82,
55 S.Ct. 629, 79 L.Ed. 1314 (1935).” Jingles, 702 F.3d at
500-502
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        The defendant maintains that the dismissal of counts one,

two, and three constitutes a material variance which requires re-

submission to the grand jury. The circumstances described herein

effectively deny the defendant proper notice and are in violation

of his Fifth Amendment rights. Notice of the charges is deficient.

The    defendant        is   prejudiced     by       inability    to   respond    to    an

indictment which fails to describe the offense conduct. Count five

incorporates by reference conduct which was presented to the grand

jury, and which is no longer in play. As such, it is appropriate

that    the     court    unseal      the   grand      jury     materials   and    permit

inspection by the defendant so as to determine whether count five,

or any other portion of the indictment, should be challenged by

motion or other manner. The defendant has made the “particularized

need”    for    the     grand   jury    proceedings       in     accordance     with   the

requirements of Douglas Oil Company v. Petrol Stops Northwest, 441

U.S. 211 (1979).

                                       CONCLUSION

        For all the reasons stated above the defendant respectfully

requests       that   the    court     enter    an    order    pursuant    to   F.R.C.P.

6(e)(3)(E)(I) directing the unsealing of the grand jury materials.

        Dated at Milwaukee, Wisconsin, this 4 th day of February 2024.



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                            Respectfully submitted,

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